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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    ELIZABETH PANZARELLA, et al.,                  :
                                                   :
                        Plaintiffs,                :
                                                   :           CIVIL ACTION
                  v.                               :
                                                   :           NO. 18-3735
    NAVIENT SOLUTIONS, INC.,                       :
                                                   :
                        Defendant.                 :

                                              ORDER

         AND NOW, this 15th of June, 2020, upon consideration of the Defendant’s Motion for

Summary Judgment (ECF NO. 54), Plaintiffs’ Amended Response in Opposition (ECF No. 63),

Defendant’s Reply (ECF No. 64), Plaintiffs’ Sur-reply (ECF No. 65), and the arguments made

before the Court during oral argument on May 11, 2020, the following is HEREBY ORDERED

AND DECREED:

            1. Plaintiffs’ Motions for Extension of Time to File Response to Motion for

                Summary Judgment (ECF No. 55, 61), are GRANTED;

            2. Plaintiffs’ Amended Motion for Extension of Time to File Response (ECF No.

                59) is GRANTED;

            3. Plaintiffs’ Leave to File Sur-reply in Opposition to Defendant’s Motion for

                Summary Judgment (ECF No. 65) is GRANTED;

            4. Defendant’s Motion to Strike Motion for Leave to File Sur-Reply (ECF No. 66) is

                DENIED;

            5. Defendant’s Motion for Summary Judgment (ECF No. 54) is GRANTED;1



1
    This Order accompanies the Court’s Memorandum Opinion dated June 15, 2020.
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           6. Plaintiffs’ Motion to Certify Class (ECF No. 67) is DENIED AS MOOT;2

           7. Defendant’s Motion for Leave to File Sur-reply to Plaintiffs’ Second Motion to

              Compel (ECF No. 58) is GRANTED;3

           8. Defendant’s’ Motion to Appear Telephonically at the May 11, 2020 Hearing

              (ECF No. 72) is DENIED AS MOOT.4

           9. The Clerk of the Court shall mark this matter as CLOSED for statistical purposes.



                                                           BY THE COURT:


                                                           /s/ Petrese B. Tucker
                                                           Hon. Petrese B. Tucker, U.S.D.J.




2
  Since the Court is Granting Summary Judgment to Defendant, it finds no occasion to consider
Plaintiffs’ Motion to Certify Class.
3
  The sur-reply attached to the Motion was considered by the Court before it ruled on the Motion
to Compel in its April 1, 2020 Order (ECF No. 69).
4
  The Court held the Oral Argument via video-conference given the disruptions caused by the
ongoing COVID-19 pandemic. See April 30, 2020 Order, ECF No. 77.
